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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


JOSEPHINE BENSON,

       Plaintiff,

v.                                                       Case No. 2:18-cv-2874-MSN-cgc

OCWEN LOAN SERVICING, LLC,

       Defendant.


            ORDER GRANTING JOINT MOTION TO STAY PROCEEDINGS


       Before the Court is the parties’ Joint Motion to Stay Proceedings, which was filed on

January 23, 2019. (ECF No. 11.) Upon review, the Court finds the Motion is well taken and is

hereby GRANTED. Accordingly, the matter is stayed for a period of six (6) months, through and

including July 12, 2019.

       IT IS SO ORDERED on this 29th day of January, 2019.


                                          s/ Mark S. Norris
                                          MARK S. NORRIS
                                          UNITED STATES DISTRICT JUDGE
